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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

Alcon Laboratories, Inc.,                                    Case No.   1:18-cv-00407-NG-RLM

                        Plaintiff,

        v.                                                   DEMAND FOR JURY TRIAL
Lens.com, Inc.,

                        Defendant.



                                 FIRST AMENDED COMPLAINT

        Plaintiff Alcon Laboratories, Inc. (“Alcon”) brings this action against Defendant

Lens.com, Inc. (“Defendant” or “Lens.com”) and alleges as follows:

                                     JURISDICTION AND VENUE

        1.      This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

§ 1121 (action arising under the Lanham Act); 28 U.S.C. § 1331 (federal question jurisdiction);

28 U.S.C. § 1338(a) (any Act of Congress relating to trademarks); and 28 U.S.C. § 1367

(supplemental jurisdiction).

        2.      Lens.com is subject to personal jurisdiction in this State because Lens.com

conducts business within this State, including shipments to individuals within this State of the

products at issue in this case, several interactive websites targeting customers in this State, and

imports of contact lens products into the United States through this State, and such conduct has

caused injury to Alcon in this State. Because Lens.com is subject to personal jurisdiction in this

State, it is subject to personal jurisdiction in this District.




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        3.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (b)(2) in that a

substantial part of the events giving rise to the claims occurred in this District and Lens.com is

subject to personal jurisdiction in this District.

                                               PARTIES

        4.      Plaintiff Alcon, a division of Novartis AG, is a corporation organized and existing

under the laws of the State of Delaware, having its corporate offices and principal place of

business at 6201 South Freeway, Fort Worth, Texas 76134.

        5.      On information and belief, Lens.com, Inc. is a corporation organized and existing

under the laws of the State of Nevada, having its principal place of business in Las Vegas,

Nevada. On information and belief, Lens.com operates several nationwide interactive websites,

including www.lens.com, targeting contact lens consumers throughout the country, including

consumers in New York. On information and belief, Lens.com stores its inventory of contact

lenses at a distribution center in Missouri.

                                     STATEMENT OF FACTS

        A.      Alcon’s Business

        6.      Alcon was founded in 1947 as a small pharmacy focused on sterile ophthalmic

products. It has developed into a world-renowned developer and manufacturer of contact lenses,

prescription eye care products, surgical devices for eye care practitioners, and over-the-counter

eye care products. Its mission is to provide innovative products that enhance quality of life by

helping people see better. Alcon’s focus is on patients, as seen in its advanced research and

development process, as well as its high standards for manufacturing that exceed basic

compliance needs.

        7.      Alcon is also a strong advocate for eye health. In 2017 alone, Alcon supported

554 charitable medical missions through Alcon Cares, Inc., a U.S. foundation, serving more than

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392,000 patients around the world and facilitating approximately 34,000 surgeries. Alcon also

offers grants through the Alcon Foundation, Inc. to advance and improve the quality of eye

health, education, and access to care, and has partnered for over 30 years with Orbis, an

international charity that fights blindness, to enhance access to eye care services in the

developing world through hands-on training and capacity-building. Alcon also operates

www.myeyes.com, an online resource for vision care for patients that allows them to explore

how the eye works and actively manage their ocular health.

       8.      Alcon is a leading producer of soft contact lenses in the U.S. It sells contact

lenses under several different brands, including DAILIES®, which are its daily disposable soft

contact lenses. U.S. consumers of Alcon products have come to expect a high level of quality

from Alcon, due in large part to the regimented and precise manner in which the products are

manufactured, packaged, distributed, and marketed.

       9.      Alcon has invested significant resources into conducting clinical trials of and

obtaining FDA approval for each of its contact lens products distributed in the United States. It

has also spent over 70 years and millions of dollars in advertising to establish and maintain

consumer recognition and confidence in its brands, which rely in large part on recognition of,

and confidence in, products bearing Alcon brand names. These substantial expenditures of time,

money, and effort have resulted in a reputation for exceptionally high-quality products, including

contact lenses. For example, Alcon’s DAILIES TOTAL1® lenses won the “Contact Lens

Product of the Year” award at the U.K.’s 2014 Optician Awards. Its CLEAR CARE® PLUS

with HYDRAGLYDE® contact lens solution was awarded Product of the Year in the Eye Care

category of the 2016 Consumer Survey of Product Innovation.




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        10.     Alcon vigorously protects its reputation and goodwill by maintaining the highest

standards in products, appearance, and customer service.

        11.     Alcon does not dictate the pricing of its products. Alcon’s pricing is determined

by market forces and independent decisions made by eye care practitioners and online and brick-

and-mortar retailers selling legal, compliant Alcon products that do not violate Alcon’s

intellectual property rights.

        B.      Alcon Has Extensive Connections with New York

        12.     Although Alcon is headquartered in Texas, it is a global company with business

partners and customers all around the world. In particular, Alcon conducts significant business

throughout the state of New York.

        13.     Alcon’s National Account Director of e-Commerce, Richard Fabio, lives on Long

Island, New York. Mr. Fabio is responsible for developing the Alcon Vision Care Lens and

Lens Care businesses and executing sales strategies within assigned internet commerce accounts.

Mr. Fabio will be a key witness in this case because, on information and belief, all of Lens.com’s

infringing conduct involves e-commerce as it results from purchases made through websites

operated by Lens.com.

        14.     Alcon contracts with thousands of retailers and eye care practitioners (“ECPs”) in

New York to sell Alcon contact lenses throughout the state. In 2017, Alcon sold nearly $15

million of Alcon contact lenses directly to ECPs located in New York.

        15.     Alcon has dozens of employees who live and work in New York, including

approximately 17 members of the Alcon Vision Care Lens sales team. In addition to meeting

with individual ECPs to promote and sell Alcon contact lenses, members of the Alcon Vision

Care Lens sales team, including those based in New York, regularly attend meetings,

conferences, and other events in New York.

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       16.     VisionExpo is the leading vision care conference in the United States. It hosts a

VisionExpo East conference each year in New York. For decades now, Alcon has attended and

had a booth at the VisionExpo East conference to promote its contact lens products and, until this

year, its ophthalmic pharmaceutical products.

       17.     Just recently, in March 2018, both Alcon and Novartis Pharmaceuticals hosted

prominent booths at VisionExpo East, solidifying and expanding their connections with New

York-based customers, retailers, distributors, and ECPs. During the conference, Alcon

participated in nearly 100 meetings and events in New York City to continue deepening its

relationships with ECPs, customers, and other members of the vision care industry.

       C.      Background on Contact Lenses

       18.     Today, nearly 40 million Americans wear contact lenses to correct refractive

vision defects. Contact lenses are medical devices regulated by the U.S. Food and Drug

Administration to ensure their safety and efficacy. According to their labeling, contact lenses

require professional care, and thus patients can only obtain them with a valid prescription.

       19.     In the United States, about 90 percent of contact lens wearers wear soft contact

lenses, which are generally made of soft, flexible, water absorbing plastics or silicone-hydrogel

material that allow higher amounts of oxygen to pass through to the cornea. Most soft contact

lenses are replaced daily, weekly, or monthly.

       20.     Each contact lens manufacturer uses unique manufacturing processes and often

unique materials to produce its contact lenses. The manufacturing process and material affect

how contact lenses fit, how they correct vision, and the level of comfort they provide. Moreover,

different contact lens brands vary on such features as base curve (the back curvature of the

contact lens, measured in millimeters), diameter (the distance across a lens between one edge of

the contact lens to the other edge), material (chemical make-up of the plastic), lens shape (type of

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curvatures on the front and back surfaces of the lens), flexure (flexibility of the lens on the eye),

oxygen transmissibility (amount of oxygen that passes through the lens), water content

(percentage of water/solution absorbed by the lens material), surface wettability (ease with which

tears adhere to the lens surface), center thickness (thickness at the center of the lens), edge

thickness (thickness at edge of the lens), edge design (shape of the lens edge), surface

characteristics/treatments, UV blocking, and interaction with lens care solutions.

       21.     Different combinations of these features affect the fit, efficacy, and safety of

patients’ contact lenses. Thus, the professional judgment of an ECP, such as an optometrist or

ophthalmologist, is required to select the appropriate pair of contact lens for each patient. In

particular, soft contact lenses should cover the cornea adequately and center properly, while also

being able to move enough to flush cellular and tear debris from behind the lenses, remain stable

on the eye, transmit oxygen, and optically correct vision.

       D.      Alcon’s DAILIES AQUACOMFORT PLUS®, O2 OPTIX®, AIR OPTIX®
               Colors and AIR OPTIX® plus HYDRAGLYDE® Contact Lenses

              i.       DAILIES AQUACOMFORT PLUS® Products

       22.     Beginning in May 2017, Alcon introduced new product packaging for its

DAILIES AQUACOMFORT PLUS® sphere contact lenses distributed in the United States, a

product that is often prescribed to patients who have not previously worn soft contact lenses:

       90-Pack Front of Packaging                              90-Pack Back of Packaging




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       25.     To enhance its ability to communicate with ECPs and patients regarding issues

that might affect the safety or efficacy of its contact lens products, Alcon also added U.S.-

specific lot numbers to the new packaging. These lot numbers can be used by Alcon to track its

contact lens products through its supply chain in the event that Alcon needs to notify ECPs or

patients regarding any issues related to the safety or efficacy of the lenses, including, for

example, any inaccuracies in the corrective power of the lenses.




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       28.     Alcon first announced the new U.S.-specific packaging to the eye care industry in

a media alert issued on November 12, 2016. Alcon did not limit its media alert to entities with

whom it had a direct relationship because it wanted everyone who sold DAILIES

AQUACOMFORT PLUS® lenses in the United States to have advance notice of the packaging

change so that they would have adequate time to update their inventory with the new products.

Starting in spring 2017, Alcon sent additional follow-up communications regarding the

packaging change to customers, authorized distributors, retailers, and ECPs.

      29.      Beginning in May 2017, Alcon provided DAILIES AQUACOMFORT PLUS®

lenses with the U.S.-specific packaging directly to larger customers, such as Walmart and

Costco, to authorized distributors, and to retailers with whom it had reseller agreements. To

prevent confusion that could result if different versions of the DAILIES AQUACOMFORT

PLUS® lens packaging were available in the market at the same time, and to make sure that all

patients received the benefits of the additional information on the new U.S.-specific packaging,

Alcon required all customers, authorized distributors, and retailers with whom it had a contract to

stop selling DAILIES AQUACOMFORT PLUS® products in the prior packaging by June 16,

2017. They could then exchange any remaining products in their inventory for new U.S.-specific

boxes of DAILIES AQUACOMFORT PLUS® contact lenses. Alcon’s sales representatives

worked directly with ECPs to assist in exchanging any older boxes in their inventories for new

U.S.-specific boxes of DAILIES AQUACOMFORT PLUS® contact lenses.

       30.     Alcon also provided customers, authorized distributors, retailers with whom it had

contracts, and ECPs with photographs (i.e., box shots) and other marketing materials featuring

the new packaging for the DAILIES AQUACOMFORT PLUS® products and asked that they




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update their marketing materials. These marketing materials were made available to Alcon’s

partners through its marketing portal website at www.alconODmarketing.com.

       31.     During July 2017, Alcon also sent letters to retailers with whom it did not have a

relationship reminding them of the packaging change and informing them that the older

DAILIES AQUACOMFORT PLUS® product packaging was not authorized for sale in the

United States after June 16, 2017.

       32.     To ensure compliance with its requirement that products in the prior packaging be

exchanged for products in the new U.S.-specific packaging, Alcon carefully monitored the return

process for DAILIES AQUACOMFORT PLUS® products, and, during July 2017, sent letters to

customers, authorized distributors, retailers under contract, and ECPs whom it believed had not

returned their inventory of DAILIES AQUACOMFORT PLUS® products in the prior packaging.

On information and belief, substantially all of the prior DAILIES AQUACOMFORT PLUS®

products were exchanged by Alcon’s customers, authorized distributors, retailers under contract,

and ECPs by July 31, 2017, but not quite all. Accordingly, Alcon sent a further communication

to all customers, retailers with whom it had contracts, and ECPs reminding them of the

importance of exchanging products in the prior packaging in their inventory for products with the

updated packaging. Alcon also informed them that continued sales of DAILIES

AQUACOMFORT PLUS® products with the older packaging would likely confuse patients and

would be considered trademark infringement in the United States.

       33.     Further, Alcon regularly reviewed the websites of its customers, authorized

distributors, retailers under contract, and ECPs to ensure that they had removed any depictions of

the older DAILIES AQUACOMFORT PLUS® products. To the extent that they had not, Alcon

contacted them during the summer of 2017 to remind them of the packaging change and to



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reiterate that the marketing materials and websites needed to be updated to show only the

DAILIES AQUACOMFORT PLUS® products with the U.S.-specific packaging.

             ii.          O2 OPTIX® Products

       34.         Another contact lens product that Alcon manufactures is the O2 OPTIX® product.

In an effort to streamline its product line, Alcon discontinued providing complimentary “fit sets”

for the O2 OPTIX® lenses to ECPs in the United States for use in fitting patients with O2

OPTIX® contact lenses in 2011. Because ECPs do not normally prescribe contact lenses without

first doing a fitting with a complimentary fit set, Alcon discontinued the O2 OPTIX® products in

the United States in late 2013, and stopped distributing the O2 OPTIX® lenses in the U.S. in

early 2014. Alcon now distributes the O2 OPTIX® products only in certain countries outside of

the United States.

             iii.         AIR OPTIX® Colors Products

       35.      Alcon also offers colored contact lenses that allow patients to change the

appearance or color of their eyes. It markets some of these products under the AIR OPTIX®

Colors trademarks.

       36.      Over the years, a market has developed for counterfeit contact lenses, including in

the United States, particularly for non-corrective colored contact lenses. Alcon regularly works

with U.S. Customs and law enforcement to seize counterfeits of its AIR OPTIX® Colors

products. Many of the counterfeit products come in packaging that looks genuine.

             iv.          AIR OPTIX® plus HYDRAGLYDE® Products

       37.      In January 2018, Alcon introduced new U.S.-specific packaging for its AIR

OPTIX® plus HYDRAGLYDE® contact lenses:




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       38.     The new U.S.-specific AIR OPTIX® plus HYDRAGLYDE® boxes feature many

of the same benefits as the new DAILIES AQUACOMFORT PLUS® boxes, including (i) readily

accessible detailed insertion and removal instructions, (ii) a toll-free patient helpline and email

address to permit patients to contact Alcon directly with questions, and (iii) a dedicated AIR

OPTIX® website address for more at-home and online support. So that U.S. patients and ECPs

can readily confirm that they are receiving the benefits of the new product packaging, Alcon also

added an American flag to the new U.S.-specific AIR OPTIX® plus HYDRAGLYDE® boxes.

       39.     The new U.S.-specific AIR OPTIX® plus HYDRAGLYDE® packaging differs

from the “Global” packaging for AIR OPTIX® plus HYDRAGLYDE® lenses, which was

introduced in 2016 and never distributed by Alcon in the U.S. The Global packaging conforms

to regulations in Canada, the European Union, Australia, and Japan, and is distributed by Alcon

only in those countries:




In addition to differences in the graphics on the front of the boxes, the Global AIR OPTIX® plus

HYDRAGLYDE® boxes do not have (i) detailed insertion and removal instructions, (ii) a toll-

free patient helpline and email address, (iii) a dedicated AIR OPTIX® website address, or (iv) an

identifying American flag.




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       40.     Additionally, the new U.S.-specific packaging differs from the “Rest of World”

packaging for AIR OPTIX® plus HYDRAGLYDE® lenses. The Rest of World AIR OPTIX®

plus HYDRAGLYDE® packaging, which was launched in July 2017, conforms with regulations

in all countries except the U.S., Canada, the European Union, Australia, and Japan, and is offered

for sale only outside of the U.S., Canada, the European Union, Australia, and Japan:




In addition to differences in the graphics on the front of the boxes, the Rest of World AIR

OPTIX® plus HYDRAGLYDE® boxes do not have (i) detailed insertion and removal

instructions, (ii) a toll-free patient helpline and email address, (iii) a dedicated AIR OPTIX®

website address, or (iv) an identifying American flag.

       E.      Alcon’s Quality Control Processes

       41.     Alcon contact lenses are subjected to a variety of inspections and tests as part of

the manufacturing process. If any standard is not met, the entire batch, which may include up to

25,000 lenses, is scrapped. If a batch passes, each lens is placed in a blister pack and covered

with foil, which is heat sealed. The packs are autoclaved for sterilization.

       42.     Alcon takes several additional steps to make sure its lenses are not contaminated.

To start, it uses specialized warehouses that are regularly audited by Alcon and various health

authorities, including the FDA. In addition, it uses only new, heat-treated wood pallets to avoid

the cross-contamination that can occur if contact lenses are stored on reused pallets that

previously stored toxic chemicals or were exposed to mold.

       43.     Alcon also tests its lenses to make sure they meet the applicable regulatory

standards where they will be sold. Alcon determines distribution channels after confirming

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which standards its lenses meet, and segregates them in its supply chain management system

according to distribution channel. With respect to products that Alcon does not distribute in the

United States, such as O2 OPTIX® lenses and AIR OPTIX® plus HYDRAGLYDE® lenses in

non-U.S. packaging, Alcon tests these lenses only for compliance with the applicable standards

in the markets in which they will be distributed.

         F.    Alcon’s Intellectual Property Rights

         44.   Alcon has taken all appropriate steps to protect its rights in the trademarks and

trade dress used for its DAILIES AQUACOMFORT PLUS® products, O2 OPTIX® products,

AIR OPTIX® Colors products, and AIR OPTIX® plus HYDRAGLYDE® products. Specifically,

Alcon owns the registrations and applications set forth below for its ALCON® mark

(collectively, the “ALCON Marks”).

         45.   Alcon owns U.S. Trademark Registration No. 1,055,870 for the mark ALCON®

for “cleaning, wetting, and soaking solutions for contact lenses,” which issued on January 11,

1977. Alcon filed an affidavit under Section 15 of the Lanham Act on July 30, 1982, which was

acknowledged by the United States Patent and Trademark Office. As a result, the registration is

incontestable and considered to be conclusive evidence of the validity of the mark and

registration, and of Alcon’s exclusive right to use the ALCON® trademark for the registered

goods.

         46.   Alcon owns U.S. Trademark Registration No. 3,964,835 for the stylized

ALCON® mark shown below for “cleaning, wetting, and soaking solutions for contact lenses,”

which issued on May 24, 2011. Alcon filed an affidavit under Section 15 of the Lanham Act on

October 26, 2016, which was acknowledged by the United States Patent and Trademark Office.

As a result, the registration is incontestable and considered to be conclusive evidence of the



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validity of the mark and registration, and of Alcon’s exclusive right to use the stylized ALCON®

trademark for the registered goods.




        47.    Alcon owns U.S. Trademark Registration No. 4,560,685 for the mark ALCON®

for “contact lenses,” which issued on July 1, 2014. The registration is considered to be prima

facie evidence of the validity of the mark and registration, and of Alcon’s exclusive right to use

the ALCON® trademark for the registered goods.

        48.    Alcon also owns U.S. Trademark Registration No. 5,412,293 for the stylized

ALCON® mark shown below for “contact lenses,” which issued on February 27, 2018. This

application was filed on July 26, 2017, and claims a first use anywhere and first use in commerce

date of December 31, 2013. The registration is prima facie evidence of the validity of the mark

and registration, and of Alcon’s exclusive right to use the stylized ALCON® trademark for the

registered goods.




        49.     Alcon also owns four copyrights in the DAILIES AQUACOMFORT PLUS®

 packaging visual artwork. These copyrights have been registered with the U.S. Copyright

 Office under Registration Nos. VA 2-090-281, VA 2-090-283, VA 2-095-867, and VA 2-095-

 868.




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         50.   Alcon’s parent, Novartis AG, owns the registrations and application below for

marks that are used on Alcon’s DAILIES AQUACOMFORT PLUS® products (collectively, the

“ALCON DACP Marks”).

         51.   Novartis owns U.S. Trademark Registration No. 5,137,710, for the mark

AQUACOMFORT PLUS® for “contact lenses,” which issued on February 7, 2017. The

registration is considered to be prima facie evidence of the validity of the mark and registration,

and of Alcon’s exclusive right to use the AQUACOMFORT PLUS® trademark for the registered

goods.

         52.   Novartis also owns U.S. Registration No. 4,556,224, for the Teardrop Logo

shown below for “contact lenses,” which issued on June 24, 2014. The registration is considered

to be prima facie evidence of the validity of the mark and registration, and of Alcon’s exclusive

right to use the Teardrop Logo for the registered goods.




         53.   Novartis also owns U.S. Trademark Registration No. 3,687,534, for the mark

AQUACOMFORT® for “contact lenses,” which issued on September 22, 2009. Novartis filed

an affidavit under Section 15 of the Lanham Act on September 9, 2015, which was

acknowledged by the United States Patent and Trademark Office. As a result, the registration is

incontestable and considered to be conclusive evidence of the validity of the mark and

registration, and of Novartis’ exclusive right to use the AQUACOMFORT® trademark for the

registered goods.

         54.   Novartis also owns U.S. Trademark Registration No. 2,924,933, for the mark

LIGHTSTREAM® for “contact lenses and optical lenses,” which issued on February 8, 2005.

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Novartis filed an affidavit under Section 15 of the Lanham Act on December 27, 2014, which

was acknowledged by the United States Patent and Trademark Office. As a result, the

registration is incontestable and considered to be conclusive evidence of the validity of the mark

and registration, and of Novartis’ exclusive right to use the LIGHTSTREAM® trademark for the

registered goods.

       55.     Novartis also owns U.S. Registration No. 3,555,421 for the mark DAILIES

AQUACOMFORT PLUS® for “contact lenses,” which issued on December 30, 2008. Novartis

filed an affidavit under Section 15 of the Lanham Act on October 24, 2014, which was

acknowledged by the United States Patent and Trademark Office. As a result, the registration is

incontestable and considered to be conclusive evidence of the validity of the mark and

registration, and of Novartis’ exclusive right to use the DAILIES AQUACOMFORT PLUS®

trademark for the registered goods.

       56.     Novartis also owns U.S. Application Serial No. 87/586,440 for the trade dress for

the front panel of the DAILIES AQUACOMFORT PLUS® products shown below for “contact

lenses.” This application was filed on August 28, 2017, and claims a first use anywhere and first

use in commerce date of May 31, 2017. This application was published for opposition in the

Official Gazette on April 10, 2018. If no opposition is filed by May 10, 2018, the trade dress

will be registered by the United States Patent and Trademark Office in about four months.




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       57.     Novartis also owns the registrations below for marks that are used on Alcon’s O2

OPTIX® products (collectively, the “O2 OPTIX Marks”).

       58.     Novartis owns U.S. Registration No. 2,946,628 for the mark O2® for “contact

lenses,” which was issued on May 3, 2005. Novartis filed an affidavit under Section 15 of the

Lanham Act on February 19, 2001, which was acknowledged by the United States Patent and

Trademark Office. As a result, the registration is incontestable and considered to be conclusive

evidence of the validity of the mark and registration, and of Novartis’ exclusive right to use the

O2® trademark for the registered goods.

       59.     Novartis owns U.S. Registration No. 3,308,130 for the mark O2 OPTIX® for

“contact lenses,” which issued on October 9, 2007. Novartis filed an affidavit under Section 15

of the Lanham Act on December 31, 2016, which was acknowledged by the United States Patent

and Trademark Office. As a result, the registration is incontestable and considered to be

conclusive evidence of the validity of the mark and registration, and of Novartis’ exclusive right

to use the O2 OPTIX® trademark for the registered goods.

       60.     Novartis owns U.S. Registration No. 3,308,131 for the stylized O2 OPTIX® mark

shown below for “contact lenses,” which issued on October 9, 2007. Novartis filed an affidavit

under Section 15 of the Lanham Act on December 31, 2016, which was acknowledged by the

United States Patent and Trademark Office. As a result, the registration is incontestable and

considered to be conclusive evidence of the validity of the mark and registration, and of

Novartis’ exclusive right to use the stylized O2 OPTIX® trademark for the registered goods.




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       61.     Novartis also owns the registrations below for marks that are used on Alcon’s

AIR OPTIX® Colors and AIR OPTIX® plus HYDRAGLYDE® products (collectively, the “AIR

OPTIX Marks”).

       62.     Novartis owns U.S. Registration No. 3,490,248 for the mark AIR OPTIX® for

“contact lenses,” which was issued on August 19, 2008. Novartis filed an affidavit under Section

15 of the Lanham Act on April 22, 2014, which was acknowledged by the United States Patent

and Trademark Office. As a result, the registration is incontestable and considered to be

conclusive evidence of the validity of the mark and registration, and of Novartis’ exclusive right

to use the AIR OPTIX ® trademark for the registered goods.

       63.     Novartis owns U.S. Registration No. 3,490,249 for the stylized AIR OPTIX®

mark shown below for “contact lenses,” which was issued on August 19, 2008. Novartis filed an

affidavit under Section 15 of the Lanham Act on May 9, 2014, which was acknowledged by the

United States Patent and Trademark Office. As a result, the registration is incontestable and

considered to be conclusive evidence of the validity of the mark and registration, and of

Novartis’ exclusive right to use the stylized AIR OPTIX® trademark for the registered goods.




        64.     Novartis owns U.S. Registration No. 4,674,449 for the mark AIR OPTIX

 COLORS® for “contact lenses,” which was issued on January 20, 2015. The registration is

 considered to be prima facie evidence of the validity of the mark and registration, and of

 Novartis’ exclusive right to use the AIR OPTIX COLORS® trademark for the registered goods.


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       65.     Novartis owns U.S. Registration No. 5,146,779 for the mark AIR OPTIX PLUS

HYDRAGLYDE® for “contact lenses,” which issued on February 21, 2017. The registration is

considered to be prima facie evidence of the validity of the mark and registration, and of

Novartis’ exclusive right to use the AIR OPTIX PLUS HYDRAGLYDE® trademark for the

registered goods.

       66.     Novartis owns U.S. Registration No. 5,186,616 for the mark HYDRAGLYDE®

for “contact lenses,” which issued on April 18, 2017. The registration is considered to be prima

facie evidence of the validity of the mark and registration, and of Novartis’ exclusive right to use

the HYDRAGLYDE® trademark for the registered goods.

       67.     Novartis also owns U.S. Application Serial No. 87/835,553 for the trade dress

shown below for “contact lenses.” This application was filed on March 15, 2018.




       68.     Novartis also owns U.S. Registration No. 3,429,280 for the CIBA VISION® mark

for “contact lenses,” which issued on May 20, 2008. Novartis filed an affidavit under Section 15

of the Lanham Act on November 7, 2017, which was acknowledged by the United States Patent

and Trademark Office. As a result, the registration is incontestable and considered to be

conclusive evidence of the validity of the mark and registration, and of Novartis’ exclusive right

to use the CIBA VISION® trademark for the registered goods. The CIBA VISION® mark is

used on the packaging for the O2 OPTIX® lenses.




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          69.    Novartis also owns U.S. Registration No. 4,425,860 for the stylized CIBA

VISION® mark shown below for “contact lenses,” which issued on October 29, 2013. The

registration is considered to be prima facie evidence of the validity of the mark and registration,

and of Novartis’ exclusive right to use the stylized CIBA VISION® trademark for the registered

goods. The stylized CIBA VISION® mark is also used on the packaging for the O2 OPTIX®

lenses.




          70.    As a result of Alcon’s expenditures and efforts, the ALCON Marks, the ALCON

DACP Marks, the O2 OPTIX Marks, the AIR OPTIX marks, the CIBA VISION mark, and the

stylized CIBA VISION mark (collectively, “the ALCON Contact Lens Marks”) have come to

signify the high quality of Alcon’s contact lens products. They have incalculable reputation and

goodwill, belonging exclusively to Alcon and its parent, Novartis AG.

          G.     Lens.com’s Business and Wrongful Conduct

                i.         Lens.com’s Business and New York Contacts

          71.        Lens.com, through its various websites, advertises and sells contact lenses

 directly to consumers. Lens.com owns “the largest independently held inventory of contact

 lenses” which it stores at a distribution center in Missouri. When orders are placed on one of

 Lens.com’s websites, they are shipped from that distribution center directly to customers,

 including customers in New York. See About Lens.com, https://www.lens.com/about-us/ (last

 visited March 18, 2018). On information and belief, Lens.com is now one of the largest

 unauthorized retailers of Alcon contact lenses in the United States. According to third-party

 data, Lens.com’s sales for the twelve months ending in February 2018 were nearly $115

 million, representing over 12% of the internet soft contact lens market in the United States.

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        72.     For several years, Alcon has had business discussions with Lens.com’s CEO and

 founder, Cary Samourkachian, regarding opportunities for Lens.com to become an authorized

 retailer of Alcon products or to buy Alcon products directly from Alcon. Some of these

 discussions were initiated by Alcon and some were initiated by Mr. Samourkachian. Lens.com

 has rejected every Alcon proposal, including most recently in early 2018, despite the fact that

 Alcon has similar relationships with many other major retailers.

        73.     Based upon test buys that Alcon has conducted, discussed infra paragraph 81 et

 seq., Alcon has determined that Lens.com has sold and shipped from Missouri multiple contact

 lens orders to purchasers in New York, including shipments of the contact lenses at issue in this

 litigation, and continues to ship such products to New York.

       74.     Additionally, on information and belief, Lens.com operates several highly

interactive, nationally-targeted websites, including www.lens.com, as well as

www.justlenses.com, www.contactsamerica.com, and www.eurolens.com. These websites can

be accessed by anyone in the United States, allowing a potential contact lens customer to view

Lens.com’s current inventory and select her desired lenses for purchase. Any contact lens

customer in the United States can easily create an account at any of these websites by entering

her email address and a password, and can then enter and save her billing and shipping

information, as well as her contact lens prescription(s). A prospective contact lens customer can

then order contact lenses directly through each of these websites—to be shipped anywhere in the

United States, including to New York.

       75.     If a potential customer has a question or concern for Lens.com, she can use the

live chat feature to contact the company by clicking on either the “Customer Service Available

24/7 Live Chat” link displayed prominently on the top of the www.lens.com website, the “I’m



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Online LIVE HELP” box that pops up on the side of the screen after the customer has been on

any of the pages within the www.lens.com website for more than a few seconds, or the large, red

“Need Help? It looks like you could use some help. Chat Now!” box that occasionally pops up

in the center of the screen while the customer is browsing. On information and belief, Lens.com

contracts with New-York based LivePerson, Inc. for the live chat feature on the www.lens.com

website.




       76.    Moreover, potential customers from anywhere in the United States can contact

Lens.com through the nationwide toll-free telephone number featured on its websites, listed as

“1-800 LENS.COM,” or through a local Missouri phone number. Customers can also contact

Lens.com by writing to the Missouri mailing address listed on the www.lens.com website.

       77.    Lens.com also makes customer reviews available on its www.lens.com website,

on a page titled “Customer Reviews and Feedback.” It currently lists 5,485 customer reviews.

Each review is followed by the customer’s first name, state of residence, and the number of

orders that customer has placed. Hundreds of these reviews were written by customers in New



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York. Many of these New York customers reported placing multiple orders with Lens.com—in

some cases as many as 42 orders.

       78.         Additionally, Lens.com operates a blog within its www.lens.com website called

“eyeSTYLE,” which features lifestyle, technology, health, and other advice relating to contact

lenses. Such topics include “Contact Lens Expiration,” “Can You Use Water Instead of Lens

Solution?,” “How to Relieve Computer Eye Strain,” and more. This blog can be accessed by

anyone in the United States and elsewhere. On the side of the blog, Lens.com lists its various

social media pages and the number of fans on each, including its 15,070 Facebook “fans” and

9,797 Twitter “followers.” On information and belief, many of these “fans” and “followers” are

New York residents.

       79.         Lens.com procures a large number of Alcon lenses from outside of the United

States, especially from India. Lens.com imports hundreds of thousands of dollars’ worth of

contact lenses—including the Alcon lenses at issue in this case—into the United States through

John F. Kennedy International Airport in Queens, New York.

       80.         In addition, because Lens.com is required to verify prescriptions before it fulfills

contact lens orders, Alcon is informed and believes that Lens.com routinely calls ECPs

practicing in New York to verify prescriptions for New York-based customers that do not submit

copies of their prescriptions with their orders, or whose prescriptions have expired.

             ii.          Lens.com’s Sales and Shipments of Alcon Products

                          a)      DAILIES AQUACOMFORT PLUS® Shipments

       81.         Beginning on August 1, 2017, Alcon conducted test buys to ensure that only

products in U.S.-specific DAILIES AQUACOMFORT PLUS® packaging were being sold in the

United States. It purchased products from a variety of online sources, including retailers who

had contracts with Alcon and retailers who were not under contract with Alcon. While the

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majority of the retailers shipped DAILIES AQUACOMFORT PLUS® products in the updated

and authorized packaging, a handful of them did not, including Lens.com, which sold and

shipped DAILIES AQUACOMFORT PLUS® products in packaging that is not authorized for

sale in the United States. In some cases, Lens.com shipped one U.S.-specific box of DAILIES

AQUACOMFORT PLUS® lenses and one box of DAILIES AQUACOMFORT PLUS® with the

prior packaging in fulfilling the same order.

       82.     Lens.com advertises DAILIES AQUACOMFORT PLUS® with the prior

packaging on its www.lens.com website, as well as on its affiliated websites, including

www.justlenses.com, www.contactsamerica.com, and www.eurolens.com, but then ships

DAILIES AQUACOMFORT PLUS® products with both the prior packaging and the new U.S.-

specific packaging. By advertising the outdated DAILIES AQUACOMFORT PLUS® packaging

on its websites, Lens.com infringes Alcon’s trademark rights in its ALCON Contact Lens Marks.

Additionally, Lens.com misleads consumers into thinking those products are approved for sale in

the U.S., when they are not. Finally, by advertising the outdated packaging, yet shipping

products in both the new U.S.-specific and the outdated packaging, Lens.com falsely advertises

its available inventory.




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       83.     Lens.com promotes DAILIES AQUACOMFORT PLUS® products using multiple

outdated packaging images through its various email advertisements, including the following:




       84.     Based upon Alcon’s test buys, Alcon has determined that Lens.com has sold and

shipped multiple contact lens orders to purchasers in New York, including shipments of

DAILIES AQUACOMFORT PLUS® products in the prior packaging, and continues to ship such

products to New York. For example, Lens.com filled a New York order placed as recently as

December 27, 2017 with DAILIES AQUACOMFORT PLUS® products in the prior packaging.

       85.     The DAILIES AQUACOMFORT PLUS® contact lens products that Lens.com is

selling and shipping to patients in the United States are materially different from the DAILIES

AQUACOMFORT PLUS® contact lens products that Alcon has authorized for sale in the United

States and that are being sold by distributors and resellers who exchanged their older product

inventory for products with the updated U.S.-specific packaging in 2017. Specifically, the

products sold by Lens.com lack (i) U.S.-specific lot numbers, (ii) readily accessible detailed

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insertion and removal instructions, (iii) a toll-free patient helpline and email address to permit

patients to easily contact Alcon directly with questions, (iv) a dedicated DAILIES® website

address for at-home and online support, and (v) the American flag. Additionally, the packaging

for the DAILIES AQUACOMFORT PLUS® products sold by Lens.com retains content that

Alcon no longer features on its U.S.-specific DAILIES AQUACOMFORT PLUS® sphere lens

product, including text in languages other than English and Spanish, as well as Japanese

regulatory text and a registration number. Both the front and the back of the packaging differ

from the authorized DAILIES AQUACOMFORT PLUS® packaging, as shown below.

       U.S.-Specific Alcon Packaging                  Packaging used by Lens.com




       86.     Lens.com’s sale of contact lens products in packaging that is materially different

from the DAILIES AQUACOMFORT PLUS® packaging that Alcon distributes in the United

States causes consumers to be confused, or to believe that the DAILIES AQUACOMFORT

PLUS® product packaging sold by Lens.com is the same as the DAILIES AQUACOMFORT

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PLUS® product packaging sold by Alcon in the United States, when it is not. Consumers who

receive a single order with DAILIES AQUACOMFORT PLUS® products in the new U.S.

packaging together with DAILIES AQUACOMFORT PLUS® products in the prior packaging

will be particularly confused as they will receive products that are materially different from each

other in a single order. As such, Lens.com’s sales of DAILIES AQUACOMFORT PLUS®

contact lens products in prior packaging violate Sections 32 and 43(a) of the Lanham Act.

       87.     Lens.com’s sales of DAILIES AQUACOMFORT PLUS® contact lens products in

the prior packaging also deprive contact lens patients in the United States of important safety and

usage information that Alcon includes on the packaging that it uses for DAILIES

AQUACOMFORT PLUS® contact lenses that are distributed in the United States. Lens.com’s

sales also deprive Alcon of the ability to rely on its U.S.-specific lot number system to notify

U.S. ECPs and patients in the event that there is an issue with any of its DAILIES

AQUACOMFORT PLUS® products. Each of these consequences, among others, negatively

impacts the safety and well-being of contact lens consumers, and harms Alcon’s reputation and

goodwill.

                       b)     AIR OPTIX® Colors Shipments

       88.     In late spring of 2017, Alcon conducted numerous test buys to ensure that only

authorized AIR OPTIX® Colors contact lenses were being sold in the United States. It bought

AIR OPTIX® Colors products from a variety of online sources, including websites operated by

Lens.com. When Alcon tested the AIR OPTIX® Colors lenses that it purchased from Lens.com,

it found that 60% of these lenses were not compliant with U.S. regulations. This means that

Lens.com is selling AIR OPTIX® Colors lenses from batches that were not intended for

distribution or sale in the United States, and had in fact been previously segregated by Alcon for

sale only outside of the United States.

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       89.     Because the AIR OPTIX® Colors lenses shipped by Lens.com came from batches

that were segregated for distribution or sale only outside of the United States, they were only

tested for compliance with the local regulations of the countries in which Alcon intended for

them to be distributed and sold. Lens.com’s sales of Alcon lenses that have not been tested for

U.S. regulatory compliance are likely to cause irreparable harm to Alcon and consumers because

consumers will mistakenly assume that the Alcon lenses have been tested for regulatory

compliance in the United States. This severely negatively impacts the safety and well-being of

contact lens consumers while also harming Alcon’s reputation and goodwill.

                       c)     O2 OPTIX® Sales

       90.     While it was conducting test buys for DAILIES AQUACOMFORT PLUS® lenses

in 2017, Alcon discovered that Lens.com was selling Alcon O2 OPTIX® lenses in the United

States and arranged test buys for O2 OPTIX® lenses as well. The test buys confirmed that

Lens.com was selling O2 OPTIX® lenses in the United States even though Alcon stopped

distributing those products in the United States in 2014 and no longer supports those products in

the United States.




       91.     Lens.com’s sales of unsupported O2 OPTIX® products in the United States will

cause consumers to be confused, or to believe that the products sold by Lens.com continue to be

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supported by Alcon in the U.S. market when they are not. As such, Lens.com’s sales of O2

OPTIX® products in the United States violate Sections 32 and 43(a) of the Lanham Act.

       92.       By selling O2 OPTIX® lenses in the United States, a market in which Alcon does

not offer this product, Lens.com has removed the transparency of the market. If a recall or other

notification to retailers, ECPs, or patients were required, it would be more difficult for Alcon to

effectively communicate the recall to all necessary parties. Accordingly, Lens.com’s misconduct

puts consumers at risk and jeopardizes Alcon’s reputation and goodwill.

       93.       Additionally, because O2 OPTIX® lenses are no longer sold in the United States,

they are only tested for compliance with the local regulations of the countries in which Alcon

distributes them. Lens.com’s sales of Alcon lenses that have not been tested for U.S. regulatory

compliance is likely to cause irreparable harm to Alcon and consumers because consumers will

mistakenly assume that the Alcon lenses have been tested for regulatory compliance in the

United States. This severely negatively impacts the safety and well-being of contact lens

consumers while also harming Alcon’s reputation and goodwill.

       94.       If Lens.com continues its wrongful conduct, Alcon is and will continue to be

irreparably harmed, including through loss of goodwill, reputation, and the ability to monitor the

supply chain for Alcon products being sold in the United States, which could interfere with

Alcon’s ability to communicate with ECPs or patients regarding their Alcon lenses, or for Alcon

to keep counterfeit products out of the United States. Such irreparable harm will continue unless

Lens.com is restrained from its continuing violation of the Lanham Act. Alcon has no adequate

remedy at law.

                        d)     AIR OPTIX® plus HYDRAGLYDE® Shipments

       95.       In March 2018, Alcon conducted test buys to ensure that only products in U.S.-

specific AIR OPTIX® plus HYDRAGLYDE® packaging were being sold in the United States. It

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bought products from a variety of online sources, including websites operated by Lens.com.

According to the test buys that Alcon has done, Lens.com is selling AIR OPTIX® plus

HYDRAGLYDE® lenses in the Rest of World packaging, which Alcon does not distribute or

support for sale in the United States.

       96.     Additionally, Lens.com advertises AIR OPTIX® plus HYDRAGLYDE® lenses in

discontinued packaging on its www.lens.com website, as well as on its affiliated websites,

including www.justlenses.com, www.contactsamerica.com, and www.eurolens.com. By

advertising the outdated AIR OPTIX® plus HYDRAGLYDE® packaging on its websites,

Lens.com infringes Alcon’s trademark rights in its ALCON Contact Lens Marks. Additionally,

Lens.com misleads consumers into thinking the products that it is advertising are approved for

sale in the U.S., when they are not. Finally, by advertising products with outdated packaging and

then shipping AIR OPTIX® plus HYDRAGLYDE® products in different packaging, Lens.com

falsely advertises its available inventory.

       97.     Lens.com’s sales of unsupported AIR OPTIX® plus HYDRAGLYDE® products

in the United States will cause consumers to be confused, or to believe that the products sold by

Lens.com continue to be supported by Alcon in the U.S. market when they are not. As such,

Lens.com’s sales of AIR OPTIX® plus HYDRAGLYDE® products in the United States violate

Sections 32 and 43(a) of the Lanham Act.

       98.     In addition, Lens.com’s sales in the United States of AIR OPTIX® plus

HYDRAGLYDE® lenses that have not been tested for U.S. regulatory compliance hinder

Alcon’s legitimate quality control measures, including the ability to effectively recall products if

necessary. Lens.com’s sales of Alcon lenses that are not tested for U.S. regulatory compliance,

including AIR OPTIX® plus HYDRAGLYDE® lenses, are likely to cause irreparable harm to



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Alcon and consumers. Consumers will mistakenly assume that the Alcon lenses have all been

tested for regulatory compliance in the United States. This severely negatively impacts the

safety and well-being of contact lens consumers while also harming Alcon’s reputation and

goodwill.

                               FIRST CLAIM FOR RELIEF
                        Trademark Infringement Under 15 U.S.C. § 1114

        99.     Alcon repeats and realleges each allegation set forth in paragraphs 1 through 98

above as if fully set forth herein.

        100.    The acts of Lens.com described above constitute trademark infringement in

violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

        101.    Alcon has valid and protectable rights in each of the registered ALCON Marks.

These rights predate Lens.com’s sales of DAILIES AQUACOMFORT PLUS® products that are

materially different from the DAILIES AQUACOMFORT PLUS® products that Alcon has

distributed in the United States since at least as early as May 2017, Lens.com’s sales of non-

compliant AIR OPTIX® Colors products, Lens.com’s advertisement of prior AIR OPTIX® plus

HYDRAGLYDE® packaging on its websites, Lens.com’s sales of Rest of World AIR OPTIX®

plus HYDRAGLYDE® products, and Lens.com’s sales of the discontinued O2 OPTIX®

products.

        102.    On information and belief, Lens.com had actual knowledge of Alcon’s ownership

and use of the ALCON Marks prior to May 2017, and of the change to the DAILIES

AQUACOMFORT PLUS® packaging that would take place in May 2017, the fact that the AIR

OPTIX® Colors products sold by Lens.com are not intended or approved for sale in the U.S., the

change to the AIR OPTIX® plus HYDRAGLYDE® U.S-based packaging in January 2018, the

fact that the Rest of World AIR OPTIX® plus HYDRAGLYDE® lenses are not approved for sale


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in the U.S., and the fact that Alcon does not authorize sales of O2 OPTIX® lenses in the United

States.

          103.   Alcon has not authorized Lens.com to use any of the ALCON Marks in

connection with the sale of any Alcon contact lens products.

          104.   Lens.com’s unauthorized use of the registered ALCON Marks as alleged above is

likely to cause confusion, mistake, or deception on the part of consumers as to the source, nature,

and quality of the goods Lens.com is offering under the registered ALCON Marks, constituting

trademark infringement in violation of 15 U.S.C. § 1114.

          105.   As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has

been, is now, and will continue to be irreparably injured and damaged by Lens.com’s

aforementioned acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further

harm to its name, reputation, and goodwill. This harm constitutes an injury for which Alcon has

no adequate remedy at law.

          106.   On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

and Lens.com should be held liable to Alcon for treble damages and attorneys’ fees pursuant to

15 U.S.C. § 1117(a).

                               SECOND CLAIM FOR RELIEF
                     False Designation of Origin Under 15 U.S.C. § 1125(a)

          107.   Alcon repeats and realleges each allegation set forth in paragraphs 1 through 106

above as if fully set forth herein.

          108.   The acts of Lens.com described above constitute unfair competition and false

designation of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

          109.   Alcon has valid and protectable rights in the ALCON Contact Lens Marks. These

rights predate Lens.com’s sale of DAILIES AQUACOMFORT PLUS® products that are


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materially different from the DAILIES AQUACOMFORT PLUS® products that Alcon has

distributed in the United States since at least as early as May 2017, Lens.com’s sale of non-

compliant AIR OPTIX® Colors products, Lens.com’s advertisement of prior AIR OPTIX® plus

HYDRAGLYDE® packaging on its websites, Lens.com’s sales of Rest of World AIR OPTIX®

plus HYDRAGLYDE® products, and Lens.com’s sales of the discontinued O2 OPTIX® products

in the United States.

        110.   On information and belief, Lens.com had actual knowledge of Alcon’s and

Novartis’s ownership and use of the ALCON Marks and the ALCON DACP Marks prior to May

2017, and of the change to the DAILIES AQUACOMFORT PLUS® packaging that would take

place in May 2017.

        111.   On information and belief, Lens.com also had actual knowledge of Alcon’s and

Novartis’s ownership and use of the ALCON Marks and AIR OPTIX Marks prior to January

2018.

        112.   On information and belief, Lens.com also had actual knowledge of Alcon’s and

Novartis’s ownership and use of the O2 OPTIX Marks, the CIBA VISION® mark, and the

stylized CIBA VISION® mark prior to when Alcon discontinued those products in the United

States in late 2013 and stopped distributing them in the U.S. in early 2014.

        113.   Lens.com’s unauthorized use of the ALCON Contact Lens Marks as alleged

above is likely to cause consumers to believe that there is a relationship between Lens.com and

Alcon and/or that Lens.com’s products come from Alcon. Such association constitutes false

designation of origin, in violation of 15 U.S.C. § 1125(a).

        114.   As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has

been, is now, and will continue to be irreparably injured and damaged by Lens.com’s



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aforementioned acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further

harm to its name, reputation, and goodwill. This harm constitutes an injury for which Lens.com

has no adequate remedy at law.

        115.    On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

with full knowledge of and intent to cause harm to Alcon, and Lens.com should be held liable to

Alcon for treble damages and attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

                             THIRD CLAIM FOR RELIEF
          Deceptive Trade Practices Under New York General Business Law § 349

        116.    Alcon repeats and realleges each allegation set forth in paragraphs 1 through 115

above as if fully set forth herein.

        117.    The acts of Lens.com described above constitute consumer-oriented deceptive

trade practices under New York General Business Law § 349.

        118.    Lens.com’s sales of DAILIES AQUACOMFORT PLUS® products in packaging

that is materially different from the DAILIES AQUACOMFORT PLUS® products that Alcon

has distributed in the United States since at least as early as May 2017 have caused and will

cause specific and direct harm to consumers in New York and to the public interest. The sale or

distribution of DAILIES AQUACOMFORT PLUS® lenses in the prior packaging without U.S.-

specific lot numbers, readily accessible detailed use instructions, a toll-free patient helpline and

email address, a dedicated DAILIES® support website address, and the identifying American

flag, harms consumers and impacts public safety by, among other things, reducing consumers’

ability to access important safety and use information and impairing Alcon’s quality control,

consumer communication, and supply chain monitoring measures.

        119.    Lens.com’s sales of AIR OPTIX® Colors products from batches that Alcon does

not intend for distribution in the United States have caused and will cause specific and direct


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harm to consumers in New York and to the public interest. Because Lens.com is improperly

selling or distributing AIR OPTIX® Colors lenses in the United States that may not meet U.S.

regulatory standards, sales of these products in the United States are likely to cause irreparable

harm to Alcon and its consumers because consumers will mistakenly assume that the Alcon

lenses have been tested for regulatory compliance in the United States.

       120.    Lens.com’s sales of AIR OPTIX® plus HYDRAGLYDE® products in packaging

that is materially different from the AIR OPTIX® plus HYDRAGLYDE® product packaging that

Alcon has distributed in the United States since at least as early as February 2018 have caused

and will continue to cause specific and direct harm to consumers in New York and to the public

interest. The sale or distribution of AIR OPTIX® plus HYDRAGLYDE® lenses in the old

packaging without U.S.-specific lot numbers, readily accessible detailed use instructions, a toll-

free patient helpline and email address, a dedicated AIR OPTIX® support website address, and

the identifying American flag, harms consumers and impacts public safety by, among other

things, reducing consumers’ ability to access important safety and use information and impairing

Alcon’s quality control, consumer communication, and supply chain monitoring measures.

       121.    Lens.com’s sales of O2 OPTIX® products that Alcon no longer distributes or

supports in the United States have caused and will cause specific and direct harm to consumers

in New York and to the public interest. Because Lens.com is improperly selling or distributing

O2 OPTIX® lenses in the United States, outside of Alcon’s transparent distribution market,

Lens.com is harming consumers by impeding Alcon’s ability to effectively communicate with

consumers, ECPs, and retailers in the event of a recall or other notification. Additionally,

because the O2 OPTIX® lenses are no longer tested for U.S. regulatory compliance, sales of

these products in the United States are likely to cause irreparable harm to Alcon and its



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consumers because consumers will mistakenly assume that the O2 OPTIX® lenses have been

tested for regulatory compliance in the United States.

        122.    As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has

been, is now, and will continue to be irreparably injured and damaged by Lens.com’s

aforementioned acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further

harm to its name, reputation, and goodwill. This harm constitutes an injury for which Lens.com

has no adequate remedy at law.

        123.    On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

with full knowledge of and intent to cause harm to Alcon.

                              FOURTH CLAIM FOR RELIEF
               False Advertising Under New York General Business Law § 350

        124.    Alcon repeats and realleges each allegation set forth in paragraphs 1 through 123

above as if fully set forth herein.

        125.    The acts of Lens.com described above constitute false advertising under New

York General Business Law § 350.

        126.    Lens.com’s unauthorized use of the ALCON Contact Lens Marks as alleged

above is likely to cause consumers to believe that there is a relationship between Lens.com and

Alcon and/or that Lens.com’s products come from Alcon. Such association constitutes false

advertising under New York General Business Law § 350.

        127.    Lens.com’s advertisement on its websites of O2 OPTIX® products that are not

distributed by Alcon in the United States deceives customers into believing that such lenses are

approved for sale in the United States. Such materially misleading advertising is harmful to

consumers as it leads them to believe the products they are purchasing are genuine, when instead




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Lens.com is impairing Alcon’s quality control, consumer communication, and supply chain

monitoring measures.

        128.    Additionally, Lens.com’s advertisement of prior Alcon product packaging is

materially misleading to consumers for several reasons. First, the use of the prior packaging on

Lens.com’s websites infringes Alcon’s trademark rights in its ALCON Contact Lens Marks.

Second, the advertisement of the prior packaging misleads consumers into thinking such

products are approved for sale in the U.S. Third, the advertisement of the prior product

packaging deceives customers into believing that those products are approved for sale in the

United States. Such materially misleading advertising is harmful to consumers who receive

products for which Alcon’s quality control, consumer communication, and supply chain

monitoring is impaired.

        129.    As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has

been, is now, and will continue to be irreparably injured and damaged by Lens.com’s

aforementioned acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further

harm to its name, reputation, and goodwill. This harm constitutes an injury for which Alcon has

no adequate remedy at law.

        130.    On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

with full knowledge of and intent to cause harm to Alcon.

                              FIFTH CLAIM FOR RELIEF
                   Trademark Infringement Under New York Common Law

        131.    Alcon repeats and realleges each allegation set forth in paragraphs 1 through 130

above as if fully set forth herein.

        132.    The acts of Lens.com described above constitute trademark infringement under

the common law of the State of New York.


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        133.    As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has

been, is now, and will continue to be irreparably injured and damaged by Lens.com’s

aforementioned acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further

harm to its name, reputation, and goodwill. This harm constitutes an injury for which Alcon has

no adequate remedy at law.

                               SIXTH CLAIM FOR RELIEF
                      Unfair Competition Under New York Common Law

        134.    Alcon repeats and realleges each allegation set forth in paragraphs 1 through 133

above as if fully set forth herein.

        135.    The acts of Lens.com described above constitute unfair competition under the

common law of the State of New York.

        136.    As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has

been, is now, and will continue to be irreparably injured and damaged by Lens.com’s

aforementioned acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further

harm to its name, reputation, and goodwill. This harm constitutes an injury for which Alcon has

no adequate remedy at law.

                                      PRAYER FOR RELIEF

        WHEREFORE, Alcon prays for judgment as follows:

        1.      That judgment be entered in favor of Alcon and against Lens.com on each and

every Claim of this Complaint;

        2.      For entry of an order and judgment requiring that Lens.com and its officers,

directors, members, agents, servants, employees, affiliates, parents, subsidiaries, assigns, and

successors in interest, and those persons acting in concert or participating with it, be enjoined

during the pendency of this action and permanently thereafter from (a) using in any manner the


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ALCON Contact Lens Marks in connection with the sale of any product that is materially

different from products that Alcon distributes in the United States; (b) doing any act or thing

calculated or likely to cause confusion or mistake in the minds of the members of the public or

prospective customers as to the source of the products offered or distributed by Lens.com, or

likely to confuse members of the public, or prospective customers, into believing that there is

some connection between Alcon and Lens.com or any other entity owned by or associated with

Lens.com; (c) importing, distributing, or selling any Alcon contact lenses that may not comply

with or have been tested against U.S. regulatory standards; (d) importing, distributing, or selling

any Alcon contact lenses that are materially different from those distributed by Alcon in the

United States; (e) importing, distributing, or selling contact lenses that Alcon does not distribute

in the United States; (f) otherwise competing unfairly with Alcon in any manner; or (g) assisting,

aiding, or abetting any other person or business entity in engaging in or performing any of the

activities referred to in parts (a) through (f) of this paragraph 2;

        3.      For entry of an order and judgment directing Lens.com, pursuant to

15 U.S.C.§ 1116(a), to file with this Court and serve upon Alcon within thirty (30) days after

entry of the injunction, a report in writing under oath setting forth in detail the manner and form

in which Lens.com has complied with the injunction and ceased selling Alcon products that are

materially different from products that Alcon distributes in the United States;

        4.      For entry of an order and judgment directing Lens.com to disclose to Alcon all of

Lens.com’s suppliers of Alcon products;

        5.      For a judgment in the aggregate amount of (a) Lens.com’s profits, (b) Alcon’s

actual damages, (c) the costs of this action pursuant to 15 U.S.C. § 1117, and (d) restitution




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and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that may have

been obtained by Lens.com as a result of its unlawful and unfair acts or practices;

       6.      That the Court award enhanced damages pursuant to 15 U.S.C. § 1117(a);

       7.      That the Court award prejudgment interest on all amounts awarded;

       8.      That the Court award Alcon reasonable attorneys’ fees; and

       9.      That the Court award such other relief as it deems just and proper.


                                 DEMAND FOR JURY TRIAL


       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Alcon hereby demands

trial by jury on all issues raised by the Complaint.



Dated: New York, New York                     MORRISON & FOERSTER LLP
       May 10, 2018
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